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                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           4:19-CR-40015-01-KES

                    Plaintiff,

                                              ORDER GRANTING CONTINUANCE
       vs.

PAUL ERICKSON,

                    Defendant.


      Defendant, Paul Erickson, moves for a continuance until December 1,

2019 or later, and plaintiff does not object. The court finds that the ends of

justice served by continuing this trial outweigh the best interests of the public

and the defendant in a speedy trial because defense counsel requires more

time to prepare given the extensive discovery and complex questions of law and

fact present in this case. Based on the foregoing, it is therefore

      ORDERED that defendant's motion is granted. The following deadlines

will apply:

        Applications for Writ of          November 12, 2019
        Habeas Corpus Ad
        Testificandum
        Other motions                     November 19, 2019
        Responses to motions due          Within five days after motion is
                                          filed
        Subpoenas for trial               November 19, 2019
        Plea agreement or petition to     November 19, 2019
        plead and statement of
        factual basis
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        Notify court of status of case   November 19, 2019
        Motions in limine                November 26, 2019
        Proposed jury instructions       November 26, 2019
        due
        Jury trial                       Tuesday, December 03, 2019, at
                                         9 a.m.

      The period of delay resulting from such continuance is excluded in

computing the time within which the trial of the offense must commence. 18

U.S.C. ' 3161(h)(7)(A).

      All other provisions of the court's scheduling and case management

order remain in effect unless specifically changed herein.

      Dated September 18, 2019.

                                     BY THE COURT:


                                     /s/ Karen E. Schreier
                                     KAREN E. SCHREIER
                                     UNITED STATES DISTRICT JUDGE
